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                   EXHIBIT A
        to Declaration of Daniel Chammas
       in support of Defendant Dolex Dollar
         Express, Inc.'s Notice of Removal
     Pursuant to 28 U.S.C. §§ 1332, 1441, 1446
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